Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 1 of 15




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Civil Action No.

Andrew John “AJ” Nally, an individual,

       Plaintiff,

 v.

Momentum Volleyball Colorado, A Colorado nonprofit corporation,

Melisa Miller, an individual,

J. Randal Miller, an individual,

       Defendants.


                                     COMPLAINT


       COMES NOW, the Plaintiff, Andrew John “AJ” Nally, by and through his attorney,

Thomas H. Mitchiner of Mitchiner Law, LLC, submits his Complaint against Defendants,

Momentum Volleyball Colorado, Melissa Miller and J. Randal Miller, and in support states

as follows:

                                   Nature of the Case

       This is a wage and hour case arising out of Momentum Volleyball Colorado’s

failure to pay Andrew John “AJ” Nally overtime as required by the Colorado Wage Claim

Act and the Fair Labor Standards Act, and against Melissa Miller and J. Randal Miller for

their failure to pay Andrew John “AJ” Nally overtime as required by the Fair Labor

Standards Act. In addition, AJ Nally asserts common law breach of contract and

                                            1
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 2 of 15




promissory estoppel claims against Momentum Volleyball Colorado, Melissa Miller and J.

Randal Miller.

                                             Parties

       1)        Plaintiff, Andrew John “AJ” Nally [Nally] is a resident of the City and County

of Denver, State of Colorado.

       2)        Defendant, Momentum Volleyball Colorado [Momentum], is a Colorado

nonprofit corporation with its principal offices in Arapahoe County, Colorado.

       3)        Melissa Miller is a resident of the State of Colorado.

       4)        J. Randal Miller is a resident of the State of Colorado.

       5)        Momentum is an employer under the Fair Labor Standards Act [FLSA] and

the Colorado Wage Claim Act [CWCA].

       6)        Melissa Miller and J. Randal Miller are employers under the FLSA.

       7)        Unless necessary for clarity Melissa Miller and J. Randal Miller will be

referred to collectively herein as Miller.

       8)        Similarly, unless necessary for clarity Melissa Miller, J. Randal Miller and

Momentum will be referred to collectively herein as Momentum.

       9)        Nally is an employee under the FLSA and the CWCA.

       10)       Nally worked for Momentum from August 1, 2017 through May 18, 2019.

       11)       Momentum did not pay Nally overtime during this entire period of time,

despite the fact that Nally regularly worked over 40 hours in a week or over 12 in a day.




                                                2
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 3 of 15




                                 Jurisdiction and Venue

      12)     Jurisdiction is asserted pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367.

      13)     This is an action authorized and instituted pursuant to the FLSA, 29

U.S.C § 201 et. al.

      14)     All claims arose in the Judicial District of this Court. Venue is proper in this

Court pursuant to 28 U.S.C. § 1391 (b) (c).

      15)     Momentum is a covered employer under the FLSA because it serves the

general public in competition with ordinary commercial enterprises, such as for-profit

volleyball camps, clubs and leagues. Tony & Susan Alamo Found. v. Sec’y of Labor, 471 U.S.

290, 297 n.14 (1985); 29 CFR § 779.214.

      16)     This Court has supplemental jurisdiction over Nally’s state law claims.

                                   General Allegations

      17)     Prior to being hired by Momentum, Nally worked as a Division 1 volleyball

coach at Grand Canyon University [GCU].

      18)     Nally worked for GCU as a W-2 employee.

      19)     While working at GCU Nally operated Belle Demay d/b/a AJ Nally

Volleyball, under which Nally conducted camps and clinics.

      20)     In June of 2017 Nally moved to Colorado.

      21)     From June 2017 through September 2017, Nally worked on his own

business developing a volleyball training and coaching application.

      22)     In September 2017 Nally got married.

      23)     After the wedding Nally and his wife wanted to operate a business together.


                                              3
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 4 of 15




       24)        In September of 2017, Nally dissolved Belle Demay d/b/a AJ Nally

Volleyball, and Nally and his wife incorporated Over the Top, LLC d/b/a Four Athletes.

       25)        Nally primarily incorporated Over the Top, LLC d/b/a Four Athletes for his

volleyball training and coaching application.

       26)        In July 2017 Nally begin working for Momentum as a court coach.

       27)        From July 2017 to August 2017 Nally and Momentum talked about Nally

going to work for Momentum on a more permanent basis and in a position of more

responsibility.

       28)        On or about August 1, 2017 Momentum and Nally entered into an

agreement titled “INDEPENDENT CONTRACTOR ENGAGEMENT AGREEMENT”

       29)        On or about August 1, 2018 Momentum and Nally entered into an

agreement titled “INDEPENDENT CONTRACTOR ENGAGEMENT AGREEMENT”

       30)        Subsequently, on or about August 5, 2018 Momentum and Nally entered

into an agreement titled “2018-2019 COACHING ENGAGEMENT AGREEMENT.”

       31)        The Independent Contractor Engagement Agreement dated August 1,

2017 and the Independent Contractor Engagement Agreement dated August 1, 2018

contain identical terms and conditions.

       32)        The INDEPENDENT CONTRACTOR ENGAGEMENT AGREEMENT

dated August 1, 2017 and dated August 1, 2018 will be referred to herein as the

Contractor Agreement.

       33)        The COACHING ENGAGEMENT AGREEMENT for 2018-2019 will be

referred to herein as the Coaching Agreement.


                                                4
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 5 of 15




       34)       The Contractor Agreement and Coaching Agreement [Collectively known

herein as Agreements] governed Nally’s relationship with Momentum.

       35)       Under the Contractor Agreement, Momentum was to pay Mr. Nally

$4,000.00 per month through July 31, 2019 for performing services such as: (1) assisting

Momentum’s team coaching staffs at practices and tournaments (as needed); (2)

assisting with the assessment and development of coaches; (3) assisting Momentum’s

athletes in connection with their college preparation, recruiting and selection process;

and, (4) such other services that Nally and the club agree upon.

       36)       The Contractor Agreement provided Momentum with substantial control

over Nally’s day to day duties at Momentum. Under the Contractor Agreement Nally was

required to:

             a) Perform coaching assessments;

             b) Attend tournaments;

             c) Run camps, and;

             d) Establish leagues.

       37)       The Contractor Agreement severely restricted Nally. Under the Contractor

Agreement Nally:

             a) Could not coach or perform other activities for any volleyball club in the

                United States during the duration of the agreement;

             b) Could not assign the Contractor Agreement without Momentum's approval;

             c) Could not engage in private coaching activities unless it was for Momentum

                athletes and only if it did not interfere with his duties to Momentum and that


                                               5
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 6 of 15




                he was compensated in accordance with Momentum’s fee structure.

       38)       Further, under the Contractor Agreement Momentum could use Nally's

image on promotion and advertising material.

       39)       Momentum provided Nally with the equipment needed for him to perform

his role under the Contractor Agreement.

       40)       Momentum provided Nally with Momentum labeled clothing and uniforms.

       41)       Under the Coaching Agreement, Momentum agreed to pay Nally

$1,000.00 per month from November 10, 2018, through April 10, 2019, for his coaching

of Momentum's 18 Nally team.

       42)       In performing his responsibilities under the Coaching Agreement

Momentum required Nally:

             a) To utilize Momentum's Coaching Handbook;

             b) To interact regularly with players and players’ parents by providing

                feedback;

             c) To comply with Momentum’s standards and requirements concerning the

                eligibility of athletes;

             d) To enforce the club’s code of conduct;

             e) To have any travel preapproved by the club; and,

             f) To work exclusively for Momentum.

       43)       The Coaching Agreement allows Momentum to terminate the agreement

with five days' notice without incurring a penalty but provides that if Nally terminates the

agreement that he would have to pay liquidated damages in the amount of $2,000.00.


                                              6
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 7 of 15




       44)     Moreover, under the Coaching Agreement if Nally missed three events,

Momentum could reduce his pay by $40 for each successive event he misses.

       45)     In addition, to the responsibilities outlined above in the contracts,

Momentum also required Nally: (1) to attend Staff meetings; (2) to interview potential

coaches selected by Momentum and to provide feedback to Momentum regarding

potential coaches; and, (3) to instruct coaches on proper volleyball coaching technique.

       46)     Further, if Nally wanted to conduct a volleyball camp through his own

business, Four Athletes, in Colorado the contract required him hold those camps at

Momentum and to pay Momentum a court fee.

       47)     Momentum also listed Nally on its website as a member of its staff.

       48)     Momentum indicates that Nally is the Coaching Director coaching 18 Nally

and working as part of the administration of Momentum.

       49)     Further, upon information and belief without Nally’s knowledge or consent

Momentum listed Nally as a member of its board of directors on federal forms, and without

actually placing Nally on the board of directors.

       50)     Momentum introduced and represented Nally as its employee to parents,

other coaches and other clubs.

       51)     Moreover, Momentum had Nally represent it at coach meetings, Coaches

Informational Clinics and at parent meetings.

       52)     However, Nally had no authority to discipline or terminate coaches without

Momentum’s approval.

       53)     Nally regularly worked more than 40 hours per week for which Momentum


                                              7
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 8 of 15




did not compensate him properly.

       54)      While working for Momentum Nally continued to operate and run camps

and clinics separate from his work as an employee of Momentum through Four Athletes.

       55)      In addition, Nally created, ran and operated camps and clinics for

Momentum.

       56)      Nally ran all the camps and clinics at Momentum because the Agreements

required Nally to run the camps at Momentum and the Agreements also required Nally to

utilize Momentum’s fee structure.

       57)      Momentum controlled the amount of money Nally could make from his Four

Athletes’ camps.

       58)      Momentum also charged Four Athletes money to operate his camps and

clinics at its location, this typically took the form of a court fee.

       59)      Momentum collected all of the fees for a majority of the camps and clinics

Four Athletes ran.

       60)      Momentum collected the fees for the Four Athletes camp or clinic,

deducted the money Four Athletes owed it for holding the camp, and then paid Four

Athletes the remainder of the money, it had earned for holding the camp, which was

separate from Nally’s work under the Agreements, but also contractually required.

       61)      Initially, Momentum paid Nally individually for his work under the

Agreements.

       62)      On September 7, 2018 Nally’s accountant informed Nally that for

accounting purposes it would be easier if Momentum made all payments to Four Athletes


                                                 8
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 9 of 15




instead of to Nally individually.

       63)     The accountant suggested this because Momentum was already paying

Four Athletes for the camps it held at Momentum and Nally for his work under the

Agreements.

       64)     Nally asked Momentum if this could be arranged and Momentum agreed

to pay Four Athletes for all work performed by individually by Nally.

       65)     Momentum asked Nally to enter into a new Agreement with them under

Four Athletes so that the contract and the 1099 issued by Momentum matched; therefore,

The parties reentered into the exact same contract that Nally had entered into as an

individual, however, the parties replaced Nally with Four Athletes.

       66)     The fact that Momentum paid Four Athletes and not Nally for Nally’s work

is of little relevance in determining his employment status. Powers v. Emcon Associates,

Inc., Civ. No. 14-cv-03006-KMT, 2017 WL 4075766 at *5 (D.Colo. Sep. 14, 2017).

       67)     Towards the middle of May of 2019, Nally and Momentum met to discuss

issues that had arisen during the 2018-2019 year.

       68)     As these discussions progressed, it became clear that the contract would

not be renewed.

       69)     In a meeting on May 18, 2019, between Nally and Momentum, it was

agreed by both parties that the contracts would not be renewed. Further, the parties

agreed that Momentum would pay Nally $4,000.00 for June and $4,000.00 for July.

       70)     In addition, the parties agreed that Nally could hold his previously

scheduled Four Athletes volleyball camp in June and all other lessons and clinics he had


                                             9
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 10 of 15




already planned for the remainder of May and June at Momentum.

       71)    Nally and Momentum did not discuss changing the previously agreed upon

court fee.

       72)    However, after Nally held his camp Momentum raised the court fee price

from $15 per hour to $35 per hour.

       73)    Momentum applied the $35 court fee to all of the clinics and lessons Nally

coached in June.

       74)    Momentum has refused to pay Nally the $4,000.00 it owed him for June

and July. Momentum has not paid him this money because he removed a document from

a shared drive concerning his 18 Nally team which concluded in April. The document only

contained information pertinent to the athletes that participated on that specific team.

These documents have been returned.

       75)    On or about July 19, 2019 Nally sent a demand letter to Momentum

requesting that it pay him his earned, vested and determinable overtime.

       76)    As of the date of the filing of this Complaint Momentum has not tendered

any monies to Nally.

       77)    Nally currently works as a W-2 employee for a volleyball club which

competes with Momentum.

                                   First Claim for Relief
                   (Overtime Fair Labor Standards Act – All Defendants)

       78)    The foregoing allegations are realleged and incorporated by reference.

       79)    Momentum, Melissa Miller, and J. Randal Miller at all relevant times were

employers within the meaning of the FLSA.

                                            10
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 11 of 15




      80)     Momentum, Melissa Miller, and J. Randal Miller at all times relevant

employed Nally within the meaning of the FLSA.

      81)     Momentum, Melissa Miller, and J. Randal Miller improperly classified Nally

as an independent contractor.

      82)     Momentum, Melissa Miller, and J. Randal Miller should have classified

Nally as an employee because at all times Nally was economically dependent on

Momentum, Melissa Miller, and J. Randal Miller, and Momentum, Melissa Miller, and J.

Randal Miller exercised control over Nally.

      83)     Under the Agreements Nally could not work for another volleyball club

while he worked for Momentum.

      84)     Under the Agreements Nally could only earn extra money or increase his

profits with the approval of Momentum, Melissa Miller, and J. Randal Miller.

      85)     Even if Momentum, Melissa Miller, and J. Randal Miller approved of Nally

performing extra work Nally could not set his fees as he had to abide by Momentum,

Melissa Miller, and J. Randal Miller fee schedule.

      86)     Under the Agreements Nally had to attend events and perform certain

functions or Momentum, Melissa Miller, and J. Randal Miller could fine him.

      87)     Momentum, Melissa Miller, and J. Randal Miller provided all of the

equipment necessary for Nally to perform his role, such as providing him with an iPad,

coaching guidelines and volleyballs.

      88)     Nally had to perform his work at Momentum or at a place of Momentum’s

choosing.


                                              11
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 12 of 15




       89)      Nally could only set his schedule within the confines and requirements of

Momentum, leaving him very little freedom to actual set his own schedule.

       90)      Upon information and belief, Momentum, Melissa Miller, and J. Randal

Miller represented to the Internal Revenue Service that Nally was on Momentum’s board

of directors without Nally’s knowledge, and without actually placing him on the board of

directors.

       91)      As coaching director, Nally was central to Momentum’s operations.

       92)      Other volleyball clubs in Colorado treat Head Coaches and Coaching

Directors as employees.

       93)      Nally regularly worked over 65 hours a week. Exhibit 1.

       94)      Momentum, Melissa Miller, and J. Randal Miller did not pay Nally at a rate

of one and a half times his regular rate of pay for all hours he worked over 40 in a week.

       95)     As a result, Nally suffered damages in an amount to be proved at trial.

                                Second Claim for Relief
             (Overtime Colorado Wage Claim Act – Momentum Volleyball Club)

       96)     The foregoing allegations are realleged and incorporated by reference.

       97)      Momentum at all relevant times was an employer within the meaning of the

CWCA

       98)      Momentum at all times relevant employed Nally within the meaning of the

CWCA.

       99)      Momentum improperly classified Nally as an independent contractor.

       100)     Momentum should have classified Nally as an employee because Nally is

not customarily engaged in an independent trade, and because Momentum had the right

                                             12
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 13 of 15




to exercise control over Nally in the contract and actually exercised control over Nally.

       101)    Nally regularly worked over 65 hours a week. Exhibit 1.

       102)    Momentum, Melissa Miller, and J. Randal Miller did not pay Nally at a rate

of one and a half times his regular rate of pay for all hours he worked over 40 in a week.

       103)   As a result, Nally suffered damages in an amount to be proved at trial.

                                 Third Claim for Relief
                    (Breach of Contract – Momentum Volleyball Club)

       104)   The foregoing allegations are realleged and incorporated by reference.

       105)   In May 2019 Nally and Momentum agreed that Nally’s roles and duties

would be terminated immediately but that Momentum would pay Nally through July 2019.

       106)   Momentum agreed to pay Nally $4,000.00 per month plus the money that

Momentum collected for Nally’s lessons and clinics, less Nally’s court fee charges.

       107)   Momentum should have paid Nally $9,845.00 but only paid Nally $5,169.83.

       108)   Momentum failed to pay and owes Nally $4,675.17.

       109)   Momentum did not honor its agreement to pay Nally because Nally removed

the 18 Nally team binder from Momentum.

       110)   Nally subsequently returned this information to Momentum.

       111)   Momentum did not pay Nally the money because instead of charging Nally

$15.00 per hour for court fees for his camps, clinics and other lessons it charged him

$35.00 per hour.

       112)   Throughout his time at Momentum, Momentum only charged him $15.00

per hour for court time.

       113)   Nally and Momentum never agreed that Nally would be charged $35.00 per

                                             13
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 14 of 15




hour for court time.

       114)   Momentum breached the contract by not paying Nally the entirety of the

money it promised him, even though Nally substantially performed his responsibilities

under the agreement.

       115)   As a result, Nally suffered damages in an amount to be proved at trial.

                                   Request for Relief

       WHEREFORE, Plaintiff, AJ Nally, respectfully prays for a judgment to be entered

against the Momentum Volleyball Colorado, Melissa Miller and J. Randal Miller as follows:

          A. Against Momentum Volleyball Colorado, Melissa Miller and J. Randal Miller for

              unpaid overtime pursuant to the Fair Labor Standards Act, as allowed by law;

          B. Against Momentum Volleyball Colorado, Melissa Miller and J. Randal Miller for

              liquidated damages pursuant to the Fair Labor Standards Act, as allowed by

              law;

          C. Against Momentum Volleyball Colorado for unpaid overtime pursuant to the

              Colorado Wage Claim Act, as allowed by law;

          D. Against Momentum Volleyball Colorado for unpaid penalties pursuant to the

              Colorado Wage Claim Act, as allowed by law;

          E. Against Momentum Volleyball Colorado for an additional 50% penalty

              because it willfully violated the Colorado Wage Claim Act, as allowed by

              law;

          F. Against Momentum Volleyball Colorado, Melissa Miller and J. Randal Miller,

              LLC for attorney fees and costs available to Nally as allowed by the Fair


                                             14
Case 1:19-cv-03588-LTB Document 1 Filed 12/18/19 USDC Colorado Page 15 of 15




              Labor Standards Act and the Colorado Wage Claim Act;

          G. Costs, as allowed by law; and

          H. To award Nally all other legal and equitable relief, to which Nally is entitled

              pursuant to any law, that this Court deems just, equitable, and proper.

Respectfully submitted on December 18, 2019

       Mitchiner Law, LLC

by:

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                                             15
